 8:10-cr-00193-LSC-SMB         Doc # 58      Filed: 11/02/10     Page 1 of 1 - Page ID # 198




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )             8:10CR193
                                                    )
       vs.                                          )              ORDER
                                                    )
JOHN N. GRIFFY,                                     )
                                                    )
                      Defendant.                    )



       This matter is before the court on the motion of defendant John N. Griffy (Griffy) to
review detention (Filing No. 57). After reviewing the Pretrial Services report, Griffy’s criminal
and substance abuse history, the motion to review detention and request for an evidentiary
hearing is denied.


       IT IS SO ORDERED.


       DATED this 2nd day of November, 2010.


                                                    BY THE COURT:


                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
